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 8                            UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
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12    ANDREW NORMAN OVERBECK,            )    No. CV 13-1553-JAK(CW)
                                         )
13                      Petitioner,      )    JUDGMENT
                                         )
14          v.                           )
                                         )
15    RICHARD B. IVES (Warden),          )
                                         )
16                      Respondent.      )
                                         )
17
18          IT IS ADJUDGED that the petition for writ of habeas corpus is
19    denied and the action dismissed with prejudice.
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21    DATED:     October 7, 2013
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                                                         JOHN A. KRONSTADT
24                                                  United States District Judge
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